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   6                      UNITED STATES DISTRICT COURT
   7                     CENTRAL DISTRICT OF CALIFORNIA
   8                     WESTERN DIVISION (LOS ANGELES)
   9 OCEAN S., et al.,                       Case No. 2:23-cv-06921-JAK-E
  10
                 Plaintiffs,                 STIPULATED PROTECTIVE
  11                                         ORDER
           v.
  12
  13 LOS ANGELES COUNTY, et al.,
                                             Before: Magistrate Judge Charles F.
  14
                  Defendants.                Eick
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   1    I.   PURPOSES AND LIMITATIONS
   2         Discovery activity in the above-captioned action (the “Action”) is likely to
   3 involve production of confidential and private information. On November 20, 2023,
   4 this Court determined that the protection of the individual Plaintiffs’ identities is
   5 warranted and issued an order allowing them to proceed using pseudonyms. The
   6 Court ordered the Parties to meet and confer regarding a protective order to protect
   7 the individual Plaintiffs’ identities from disclosure. Accordingly, the Parties hereby
   8 stipulate to and petition the Court to enter this Stipulated Protective Order (“Order”).
   9 The Parties have agreed to be bound by the terms of this Order in this Action to
  10 facilitate discovery and to protect the respective interests of the Parties or interested
  11 non-parties in their confidential or private information. The Parties acknowledge that
  12 this Order does not confer blanket protections on all disclosures or responses to
  13 discovery and that the protection it affords from public disclosure and use extends
  14 only to Protected Material, as herein defined.
  15         The Parties further acknowledge, as set forth in Section IX, below, that this
  16 Order does not entitle them to file confidential information under seal; Local Rule 79-
  17 5 and this Court’s civil standing order set forth the procedures that must be followed
  18 and the standards that will be applied when a Party seeks permission from the Court
  19 to file material under seal.
  20         Nothing in this Order authorizes the Parties to disclose non-parties’ Protected
  21 Material without compliance with applicable laws.
  22   II.   GOOD CAUSE STATEMENT
  23         There is good cause for this Order. This action is likely to involve confidential
  24 personal data for which special protection from public disclosure is warranted. The
  25 individual Plaintiffs and purported class members are youth aged 16-21 who are or
  26 were in foster care under the jurisdiction of the Los Angeles County Juvenile court
  27 and the care and supervision of the DCFS pursuant to Cal. Welf. & Inst. Code § 303.
  28 This Action is likely to involve official child welfare records and Juvenile Court

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   1 records that are confidential pursuant to Cal. Welf. & Inst. Code § 827 and § 10850.
   2 Those records likely will include personally identifiable information, as well as other
   3 potentially confidential information such as education records, and medical and
   4 mental health records for youth involved in the foster care system and their families.
   5 This Action is also likely to involve disclosure of records or information that is
   6 generally unavailable to the public, or which may be privileged or otherwise protected
   7 from disclosure under state or federal statutes, court rules, case decisions, or common
   8 law.    This action also may involve juvenile court records, juvenile case files,
   9 education records, medical records, mental health records, public social services
  10 records, and other confidential records of transition age youth involved in the foster
  11 care system and their families. This action is also likely to involve disclosure of
  12 records deemed confidential pursuant to several laws and regulations including, but
  13 not limited to, Cal. Welf. & Inst. Code §§ 362.5, 827, 5328, and 10850, Cal. Civ. C.
  14 §§ 56.10, et seq., Cal. Civ. Code section 1798 et seq. (the Information Practices Act
  15 of 1977), Cal. Health & Safety Code section 11845.5, Cal. Education Code sections
  16 49075 & 49076, and 45 C.F.R. §§ 160.103 and 164.512(e) of the Privacy Regulations
  17 issued pursuant to the Health Insurance Portability and Accountability Act of 1996
  18 (“HIPAA”), the federal Drug Abuse Office and Treatment Act of 1972 (PL 92–255),
  19 the federal Comprehensive Alcohol Abuse and Alcoholism Prevention, Treatment,
  20 and Rehabilitation Act of 1970 (PL 91–616), and the federal Family Educational
  21 Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g.
  22         The Parties agree that disclosure of confidential juvenile court records in this
  23 litigation may require the parties to seek relief before the relevant juvenile courts,
  24 which relief the Parties shall seek, if appropriate, in compliance with applicable
  25 statutes, including but not limited to Cal. Welfare and Institutions Code Section 827.
  26 Accordingly, to facilitate the prompt resolution of disputes over confidentiality of
  27 discovery materials, to adequately protect information the Parties are entitled to keep
  28 confidential, to ensure that the Parties are permitted reasonable necessary uses of such

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   1 material in preparation for and in the conduct of trial, to address the Parties’ handling
   2 of such material at the end of the litigation, to provide the Parties with the ability to
   3 prepare their claims and defenses and identify relevant records, to facilitate the
   4 exchange of information and discovery, and to protect the confidentiality interests of
   5 Plaintiffs and the putative class they purport to represent, as well as interested non-
   6 parties, a protective order is warranted at this time.
   7 III.    DEFINITIONS
   8         3.1   Personally Identifiable Information: All “information that identifies,
   9 relates to, describes, or is capable of being associated with, a particular individual,
  10 including, but not limited to, his or her name, signature, social security number,
  11 physical characteristics or description, address, telephone number, passport number,
  12 driver’s license or state identification card number, insurance policy number,
  13 education, employment, employment history, bank account number, credit card
  14 number, debit card number, or any other financial information, medical information,
  15 or health insurance information.”        Cal. Civ. Code § 1798.80(e).         Personally
  16 Identifiable Information does not include publicly available information that is
  17 lawfully made available to the general public from federal, state, or local government
  18 records or otherwise, provided the use of any publicly available information in this
  19 Action is done in compliance with the Court’s Order on Plaintiffs’ Motion for Leave
  20 to Proceed Using Pseudonyms (Dkt. 47).
  21         3.2   Confidential Information: All Personally Identifiable Information of
  22 Plaintiffs, putative and certified class members, and other individuals; information
  23 that qualifies for protection under Federal Rule of Civil Procedure 26(c) and as
  24 specified above in the Good Cause Statement; and any other information that is
  25 protected or restricted from disclosure by statute or regulation, but which a party is
  26 seeking in connection with this case, including without limitation the provisions of
  27 Cal. Welf. & Inst. Code sections 362.5, 827, 5238 and 10850, Cal. Civ. Code
  28 sections 56.10 et seq. and 1798 et seq., Cal. Health & Safety Code § 11845.5, Cal.

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   1 Education Code §§ 49075 & 49076, 45 C.F.R. §§ 160.103 and 164.512(e) of
   2 HIPAA, the federal Drug Abuse Office and Treatment Act of 1972 (PL 92–255), the
   3 federal Comprehensive Alcohol Abuse and Alcoholism Prevention, Treatment, and
   4 Rehabilitation Act of 1970 (PL 91–616), and the federal Family Educational Rights
   5 and Privacy Act, 20 U.S.C. § 1232g.
   6         3.3   Discovery Material: All information (regardless of how it is generated,
   7 stored or maintained) that is produced or generated in discovery in this matter,
   8 including written discovery responses.
   9         3.4   Party: Any party to this Action, collectively the Parties.
  10         3.5   Privileged Material: Discovery Material that is protected from
  11 disclosure by the attorney-client privilege, work product doctrine, or other
  12 applicable privilege or doctrine.
  13         3.6   Protected Material: All Discovery Material that is Personally
  14 Identifiable Information or Confidential Information. If a Party determines that
  15 information not defined as Protected Material should be covered by this Order, the
  16 Parties shall negotiate the appropriateness of that request in good faith and endeavor
  17 to resolve any dispute prior to the production of that information. Nothing herein
  18 shall waive or limit a Party’s right to seek additional relief as to the scope of what
  19 constitutes Protected Material.
  20         3.7   Qualified Person: A “Qualified Person” as defined in Section 8.2.
  21 IV.     SCOPE
  22         This Order authorizes the Parties to:
  23         1)    Designate Protected Material as subject to the terms, limitations and
  24 requirements of this Order;
  25         2)    Disclose and/or produce Protected Material in this Action, upon
  26 compliance with this Order.
  27         To the extent that HIPAA, FERPA, and the Comprehensive Alcohol Abuse
  28 and Alcoholism Prevention, Treatment, and Rehabilitation Act of 1970 allow the

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   1 disclosure of information pursuant to a court order, this Order constitutes such a
   2 court order and authorizes the disclosure of that information.
   3         The Parties acknowledge that other confidentiality protections, including but
   4 not limited to Cal. Welf. & Inst. Code § 827, may apply to Protected Material. This
   5 Protective Order is not intended to resolve any other confidentiality issues and the
   6 Parties explicitly reserve their right to bring disagreements regarding the
   7 applicability or requirements of other confidentiality protections to the Court at a
   8 later date.
   9         The protections conferred by this Order cover not only Protected Material, but
  10 also (i) any information copied or extracted from Protected Material; (ii) all copies,
  11 excerpts, summaries, or compilations of Protected Material; and (iii) any testimony,
  12 conversations, or presentations by Parties or their Counsel that might reveal Protected
  13 Material.
  14         This Order is subject to the Local Rules of this District, the Court’s civil
  15 standing order, and the Federal Rules of Civil Procedure on matters of procedure and
  16 calculation of time periods. Any use of Protected Material at trial shall be governed
  17 by the orders of the trial judge. This Order does not govern the use of Protected
  18 Material at trial and does not serve to waive any evidentiary objections to production
  19 or introduction of Protected Material made prior to or during trial.
  20 V.      DURATION
  21         The terms of this Order shall survive the termination of the Action after its final
  22 disposition for purposes of enforcing this Order. Even after final disposition of this
  23 litigation, the confidentiality obligations imposed by this Order will remain in effect
  24 until a Designating Party agrees otherwise in writing, if legally permissible, or a court
  25 order otherwise directs.
  26 VI.     DESIGNATING PROTECTED MATERIAL
  27         6.1   Exercise of Restraint and Care in Designating Material for Protection.
  28 Each Party that designates information or items for protection under this Order must

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   1 take care to limit any such designation to Protected Material. The designating Party
   2 must designate for protection only those parts of material, documents, items, or oral
   3 or written communications that qualify so that other portions of the material,
   4 documents, items, or communications for which protection is not warranted are not
   5 swept unjustifiably within the ambit of this Order.
   6         Mass, indiscriminate, or routinized designations are prohibited unless required
   7 by law. Designations that are shown to be clearly unjustified or that have been made
   8 for an improper purpose (e.g., to unnecessarily encumber the case development
   9 process or to impose unnecessary expenses and burdens on other parties) may expose
  10 the designating Party to sanctions.
  11         If it comes to a designating Party’s attention that information or items that it
  12 designated for protection do not qualify for protection, that designating Party must
  13 promptly notify all other Parties that it is withdrawing the inapplicable designation.
  14         6.2   Manner and Timing of Designations. Except as otherwise provided in
  15 this Order, or as otherwise stipulated or ordered, Protected Material must be clearly
  16 so designated before the material is disclosed or produced. Protected Material may
  17 be designated by the Parties in one or more of the following ways:
  18        (a)    For documents (apart from transcripts of depositions or discovery
  19 responses), the producing Party shall affix “CONFIDENTIAL SUBJECT TO
  20 PROTECTIVE ORDER” on each page that contains Protected Material in a
  21 conspicuous size and location on the page but without interfering with legibility. If
  22 only a portion or portions of the material on a page qualifies for protection, the
  23 producing Party also must clearly identify the protected portion(s) (e.g., by making
  24 appropriate markings in the margins).
  25         A producing Party that makes original documents available for inspection
  26 need not designate them for protection until after the inspecting Party has indicated
  27 which documents it would like copied and produced. During the inspection and
  28 before the designation, all of the material made available for inspection shall be

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   1 deemed Confidential Information. After the inspecting Party has identified the
   2 documents it wants copied and produced, the producing Party must determine which
   3 documents, or portions thereof, qualify for protection under this Order. Then,
   4 before producing the specified documents, the producing Party must affix
   5 “CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER” to each page that
   6 contains Confidential Information. If only a portion or portions of the material on a
   7 page qualifies for protection, the producing Party also must clearly identify the
   8 protected portion(s) (e.g., by making appropriate markings in the margins).
   9         (b)    For written discovery responses, the producing Party shall affix
  10 “CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER” next to or above any
  11 response that contains Protected Material.
  12         (c)    If Protected Material is produced in a format rendering it impractical to
  13 label (e.g., electronically stored information produced in native format or on
  14 electronic media), a producing Party may designate such item as Protected Material
  15 by (1) notifying the receiving Party in a cover letter to the production, (2) affixing
  16 “CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER” to the outside of the
  17 electronic media on which the material is stored, or (3) if applicable, by providing the
  18 appropriate designation as a field within the related load file.
  19         (d)    For transcripts of deposition testimony, all such testimony shall be
  20 deemed Protected Material only if designated as such. Such designation shall be
  21 specific as to the portions to be designated “CONFIDENTIAL SUBJECT TO
  22 PROTECTIVE ORDER.” Depositions, in whole or in part, shall be designated on the
  23 record as “CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER” at the time of
  24 the deposition. Deposition testimony so designated shall remain Protected Material
  25 until thirty (30) days after delivery of the final transcript by the court reporter. The
  26 Party who wishes to designate deposition testimony as Protected Material shall,
  27 within thirty (30) days after the court reporter issues the final transcript of the
  28 deposition, identify in writing to the other Party or Parties the specific portions of the

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   1 testimony designated by page and line number for which protection is sought. Only
   2 those portions of deposition testimony designated in writing in accordance with this
   3 subsection shall remain covered by this Order. The failure to identify in writing the
   4 portions of deposition testimony designated shall waive the “CONFIDENTIAL
   5 SUBJECT TO PROTECTIVE ORDER” designation made on the record of the
   6 deposition. In no event shall the rights of non-parties be waived solely by the failure
   7 of a producing Party to designate Protected Material pursuant to this Order.
   8         6.3   Inadvertent Failures to Designate.      Inadvertent failure to designate
   9 information or items as Protected Material does not, standing alone, waive a Party’s
  10 right to secure protection under this Order for such material, so long as such failure is
  11 corrected within a reasonable time after discovery by the Party.             If a Party
  12 inadvertently fails to designate material as Protected Material at the time of
  13 production, it shall take reasonable steps to notify the receiving Party of its failure
  14 within five (5) court days of discovery of the inadvertent failure to designate. The
  15 designating Party shall promptly supply the receiving Party with new copies of any
  16 documents bearing corrected confidentiality designations. Except in the event that
  17 the receiving Party disputes the claim, any documents the producing Party deems to
  18 have been inadvertently disclosed shall be, within five (5) court days, returned or
  19 destroyed, and the receiving Party shall provide a written certification of counsel that
  20 all such disclosed information has been returned or destroyed. Where a receiving
  21 Party disputes the claim, the affected Discovery Material shall be treated as Protected
  22 Material until the dispute is resolved by court order. In no event shall the rights of
  23 non-parties be waived solely by the failure of a producing Party to designate
  24 Confidential Information and Protected Material.
  25         6.4   Claw Back of Produced Privileged Material. If corrected within a
  26 reasonable time, the production, whether inadvertent or otherwise, of Privileged
  27 Material shall not constitute a waiver of any applicable privilege or doctrine
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   1 protecting such material from disclosure. In no event shall the rights of non-parties
   2 be waived by the failure of a producing Party to correct an improper disclosure.
   3         Upon identification of any inadvertently produced information and/or
   4 documents, the producing Party shall provide the receiving Party written notification
   5 identifying the document or information that has been inadvertently disclosed and
   6 stating the privilege under which the document or information is allegedly protected.
   7 If a producing Party or non-party notifies the receiving Party that Privileged
   8 Material has been produced, the receiving Party shall, within three (3) business
   9 days, (a) promptly destroy the Privileged Discovery Material or return the Privileged
  10 Material to the producing Party, (b) use its best efforts to retrieve all copies of the
  11 inadvertently disclosed document that the receiving Party disclosed to other persons
  12 or entities, and (c) delete the Privileged Material (and all paper and electronic
  13 copies) from any systems used to house the documents, including document review
  14 databases, e-rooms, email accounts, and any other location that stores the
  15 documents).
  16         If the receiving Party disagrees with the contention that the Privileged
  17 Material is protected from disclosure, the receiving Party may move the Court for an
  18 order compelling production of the Privileged Material, which motion shall be filed
  19 under seal, and shall not assert as a ground for entering such an order the fact or
  20 circumstances of the production.
  21         The receiving Party may make no use of the Privileged Material during any
  22 aspect of this matter or any other matter, including in depositions or at trial, unless
  23 the documents are later designated by a court as not privileged or protected.
  24         Nothing in this Order overrides any attorney’s ethical responsibilities to
  25 refrain from examining or disclosing materials that the attorney knows or reasonably
  26 should know to be privileged and to inform the producing Party that such materials
  27 have been produced.
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   1 VII. CHALLENGING DESIGNATIONS
   2         A receiving Party may challenge the designation of Protected Material by
   3 giving counsel for the designating Party written notice listing the Protected Material
   4 the receiving Party challenges and explaining, briefly, the factual and legal basis for
   5 the receiving Party’s belief that the Protected Material should not be designated
   6 Protected Material. Such written notice shall be provided to the producing Party not
   7 later than sixty (60) days after the receiving Party received the Protected Material at
   8 issue. The Parties shall attempt to resolve each challenge in good faith and must begin
   9 a meet and confer process under Local Rule 37-1, et. seq., or under procedures
  10 otherwise laid out by the Court. If the Parties cannot agree on the designation of any
  11 Protected Material within thirty (30) days after counsel for the receiving Party sends
  12 such written notice, the receiving Party may file a motion seeking resolution of the
  13 issue with the Court, subject to the provisions of this Order governing the filing of
  14 Protected Material. The burden of persuasion in any such challenge proceeding will
  15 be on the designating Party. Frivolous challenges to a designation, and those made
  16 for an improper purpose (e.g., to harass or to impose unnecessary expenses and
  17 burdens on other parties), may expose the challenging Party to sanctions. Unless the
  18 designating Party has waived or withdrawn the designation of Protected Material, all
  19 Parties shall continue to afford the material in question the level of protection to which
  20 it is entitled under the producing Party’s designation until the Court rules on the
  21 challenge.
  22 VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
  23         8.1   Basic Principles. A receiving Party may use Protected Material that is
  24 disclosed or produced in connection with this Action only for prosecuting, defending,
  25 or attempting to settle this Action. Such Protected Material may be disclosed only to
  26 the categories of persons and under the conditions described in this Order. Nothing
  27 in this Order shall prevent the disclosure of Protected Material to counsel for the
  28 Parties for use in this case.

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   1        Protected Material must be stored and maintained by a receiving Party at a
   2 location in a secure manner that ensures that access is limited to the persons
   3 authorized under this Order. When the Action has been terminated, a receiving Party
   4 must comply with the provisions of Section XII below.
   5        8.2    Disclosure of Protected Material. Unless otherwise ordered by the Court
   6 or permitted in writing by the designating Party, a receiving Party may disclose any
   7 Protected Material only to the following Qualified Persons:
   8        (a)    The Court, its personnel, and court reporters and videographers covering
   9 depositions or other testimony;
  10        (b)    The Parties, including individually named Plaintiffs to this Action and
  11 anyone appointed as a next friend or guardian ad litem in this Action for any named
  12 Plaintiff;
  13        (c)    Defendants’ counsel in this Action, and any employed or contracted
  14 support staff and other contractors or employees of such counsel with an appropriate
  15 need to know, including litigation assistants, paralegals, information technology,
  16 information or records management, investigative, secretarial, or clerical personnel;
  17        (d)    Attorneys employed by any Defendant to this Action, and their
  18 employees or contracted support staff with an appropriate need to know, including
  19 litigation assistants, paralegals, information technology, information or records
  20 management, investigative, secretarial, or clerical personnel, on the condition that
  21 these individuals will review the Court’s Order on Plaintiffs’ Motion to Proceed with
  22 Pseudonyms (Dkt. 47) prior to the receipt of any Protected Material;
  23        (e)    Plaintiffs’ counsel in this Action and any employed or contracted support
  24 staff and other contractors or employees of such counsel assisting in this Action with
  25 an appropriate need to know, including litigation assistants, paralegals, information
  26 technology, information or records management, investigative, secretarial, or clerical
  27 personnel;
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   1         (f)   Any other person who, in the absence of this Order, would be qualified
   2 by statute or regulation to receive or review Protected Material;
   3         (g)   Any Party employee or non-party who has a legitimate need to have
   4 access to the Protected Material in order to perform legitimate job functions, support
   5 a Party’s defenses or claims in this Action, or testify in this action (whether in
   6 deposition or at trial);
   7         (h)   Any experts or consultants retained for this Action by counsel to a Party
   8 or support staff or employees for such an expert or consultant with an appropriate
   9 need to know; and
  10         (i)   Any mediator or neutral third party mutually agreed upon by the parties,
  11 as well as any employees or support staff for such mediator or neutral third party who
  12 have a legitimate need related to this case to have access to the Protected Material.
  13         All Qualified Persons to whom Protected Material designated under this Order
  14 is disclosed are hereby prohibited from disclosing to, or otherwise discussing with,
  15 any person other than those other Qualified Persons, such designated material except
  16 as otherwise provided in this Order.
  17         All persons listed in subparagraphs 8.2(g)-(h) to whom Protected Material is
  18 disclosed shall first be required to read the terms of this Order and sign a copy of the
  19 “Acknowledgement and Agreement to Be Bound” form, attached hereto as Exhibit
  20 A. Notwithstanding any other provision of this order, any Party employee or non-
  21 party who has a legitimate need to have access to the Protected Material in order to
  22 perform legitimate job functions is not required to sign Exhibit A if they are already
  23 in possession of or have access to Protected Material in the course and scope of their
  24 employment and are not aware of the identity of the individual Plaintiffs in their
  25 capacity as Plaintiffs. Further, no person shall be required to sign Exhibit A more
  26 than once.
  27         If counsel for any Party is required by law or court order to disclose,
  28 disseminate, or transmit Protected Material produced under this Order to any person

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   1 or entity not identified herein as a Qualified Person, the name of that person or entity
   2 and the reason access is required shall be provided to counsel for the Parties no less
   3 than fourteen (14) days prior to disclosure, dissemination, or transmittal, so as to
   4 provide the designating Party sufficient time to object and seek a protective order as
   5 necessary. There shall be no disclosure after an objection has been made until the
   6 dispute has been resolved unless disclosure, dissemination, or transmission is required
   7 by law or a court order. For avoidance of doubt, the service of a subpoena shall not
   8 on its own satisfy this requirement. Any person, entity, or organization who receives
   9 Protected Material pursuant to this paragraph shall be provided with a photocopy of
  10 this Order, shall sign a copy of the “Acknowledgment and Agreement to be Bound”
  11 form, and shall abide by all the terms and conditions set forth herein unless otherwise
  12 permitted by a court order.
  13 IX.    FILING OF PROTECTED MATERIAL
  14        In the event a Party wishes to use any Protected Material to move the Court to
  15 resolve a matter arising from litigating this Action only, or to oppose such motion,
  16 such pleading shall be filed in accordance with Local Rule 79-5 and the Court’s civil
  17 standing order. Protected Material may only be filed under seal pursuant to a court
  18 order authorizing the sealing of the specific Protected Material at issue; good cause
  19 must be shown in the request to file under seal. If a Party’s request to file Protected
  20 Material under seal is denied by the Court, then the receiving Party may file the
  21 information in the public record unless otherwise instructed by the Court. Nothing in
  22 this Order shall be taken to authorize disclosure of information barred from disclosure
  23 pursuant to Local Rule 79-5.
  24 X.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  25        If a receiving Party learns that, by inadvertence or otherwise, it has disclosed
  26 Protected Material to any person or in any circumstance not authorized under this
  27 Order, the receiving Party must immediately, and in no event more than five (5) days
  28 from learning of such disclosure: (a) notify the designating Party in writing of the

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   1 unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of
   2 the Protected Material, (c) inform the person or persons to whom unauthorized
   3 disclosures were made of all the terms of this Order, and (d) request such person or
   4 persons to execute the “Acknowledgement and Agreement to Be Bound” form.
   5 XI.     NON-PARTY’S PROTECTED MATERIAL
   6         11.1 Basic Principles. The terms of this Order are applicable to information
   7 produced by a non-party in this Action and designated as “CONFIDENTIAL
   8 SUBJECT TO PROTECTIVE ORDER.” Such information produced by non-parties
   9 in connection with this litigation is protected by the remedies and relief provided by
  10 this Order. Nothing in these provisions should be construed as prohibiting a non-
  11 party from seeking additional protections.
  12         11.2 Disclosure of Non-Party’s Protected Material. In the event that a Party
  13 is required by a valid discovery request to produce a non-party’s confidential
  14 information in its possession, and the Party is subject to a contractual agreement with
  15 the non-party not to produce the non-party’s confidential information, or the non-
  16 party’s confidential information is otherwise protected by statute, then the Party will:
  17         (a)   Promptly notify in writing the Requesting Party and the non-party that
  18 some or all of the information requested is subject to a confidentiality agreement with
  19 a non-party or is otherwise protected by statute;
  20         (b)   Promptly provide the non-party with a copy of the Stipulated Protective
  21 Order in this Action, the relevant discovery request(s), and a reasonably specific
  22 description of the information requested; and
  23         (c)   Make the information requested available for inspection by the non-
  24 party, if requested.
  25         If the non-party fails to seek a protective order from this court within 14 days
  26 of receiving the notice and accompanying information, the receiving Party may
  27 produce the non-party’s confidential information responsive to the discovery
  28 request. If the non-party timely seeks a protective order, the Receiving Party will

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   1 not produce any information in its possession or control that is subject to the
   2 confidentiality agreement with the non-party before a determination by the court.
   3 Absent a court order to the contrary, the non-party will bear the burden and expense
   4 of seeking protection in this court of its Protected Material.
   5         Nothing in Section 11.2 shall authorize the disclosure of non-parties’
   6 Protected Material that is confidential or otherwise protected from disclosure by
   7 operation of law. The parties explicitly reserve their right to bring disagreements
   8 regarding the applicability or requirements of confidentiality protections or other
   9 protections to the Court at a later date.
  10 XII. FINAL DISPOSITION
  11         After final termination of this lawsuit (including any appeals), counsel for the
  12 producing Party may request the destruction or return of all Protected Material in the
  13 possession of the receiving Party. Once such a request has been made, within thirty
  14 (30) days from the date of receiving such a request, the receiving Party shall destroy
  15 or return to counsel for the producing Party the Protected Material that was provided
  16 by the producing Party. If the receiving Party already had the original or a copy of
  17 the Protected Material independent of this Action and as part of its official duties and
  18 as entitled/authorized by statute/law, the receiving Party is not required to destroy or
  19 return the Protected Material. In addition, counsel for the receiving Party shall
  20 provide a written statement to counsel for the producing Party certifying that all
  21 Protected Material designated by the producing Party, including any copies thereof,
  22 have been returned to the producing Party or destroyed, provided, however, that
  23 counsel for the receiving Party may retain (i) any attorney work product; and (ii)
  24 copies of any pleadings, motions, briefs, declarations, affidavits, and deposition
  25 transcripts that contain, attach, or append Protected Material, but only to the extent
  26 necessary to preserve a file with respect to this lawsuit. Nothing in this paragraph
  27 shall require the deletion of information in litigation counsel’s email maintained under
  28 their usual confidentiality practices.

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   1 XIII. MISCELLANEOUS
   2        13.1 Nothing in this Order shall be construed as a waiver of any defense, right
   3 or claim by either Party, nor shall this Order affect the right of either Party to seek
   4 additional protection against the disclosure of any information, documents or
   5 materials, or of the Parties to seek additional disclosures.
   6        13.2 Nothing in this Order shall be construed as a waiver of any right to
   7 otherwise object to disclosing or producing any information or item on any ground
   8 not addressed in this Order. Similarly, no Party waives any right to object on any
   9 ground to use as evidence any of the material covered by this Order.
  10        13.3 Counsel for the party designating any document as Protected Material
  11 may, at its option and without Court approval, agree to release any of the Party’s own
  12 Protected Material from the requirements of this Order, except to the extent such
  13 disclosure is otherwise prohibited by applicable law or the material at issue contains
  14 or reflects Protected Material of a non-party or other Party.
  15        13.4 Nothing in this Order shall limit or in any way restrict Defendants’ agents
  16 and employees from discussing the cases of individuals whose Protected Material is
  17 protected by this Order or disclosing Protected Material in order to carry out their
  18 legitimate job functions.     Nothing in this Order shall restrict Defendants from
  19 performing statutory obligations or statutorily authorized functions as they pertain to
  20 such individuals, and Defendants may not be held liable for executing such authority
  21 in ordinary course, notwithstanding this Order
  22        13.5 Nothing in this Order restricts a Party or counsel from using or
  23 disclosing: (1) publicly available information or (2) Protected Material that lawfully
  24 came into the possession of the Party independent of any disclosure, exchange, or
  25 production of Protected Material in this lawsuit. Any use of publicly available
  26 information or Protected Material in this Action must be done in compliance with the
  27 protections of the Court’s Order on Plaintiffs’ Motion for Leave to Proceed Using
  28 Pseudonyms (Dkt. 47).

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   1        13.6 This Order shall not preclude Plaintiffs’ Counsel from using the
   2 information obtained through discovery production to contact members of a putative
   3 or certified class in this Action for purposes of this case.
   4         13.7 The Parties may seek to modify this Order through a written agreement
   5 signed by counsel for all Parties and approved by the Court. In the event that all
   6 Parties do not agree to a proposed modification, each Party reserves the right to seek
   7 leave of the Court to modify this Order.
   8         13.8 This Order shall be binding upon any present or future party to the Ocean
   9 S. et al. v. Los Angeles County, et al., No. 2:23-cv-06921-JAK-E (C.D. Cal.)
  10         13.9 Within seven (7) court days of entry of this Order, Counsel for Plaintiffs
  11 shall reveal to Counsel for Defendants the name, mother’s maiden name (if available),
  12 and date of birth of each named Plaintiff. Such information shall be deemed Protected
  13 Material unless and until an order of the Court determines otherwise.
  14
  15 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  16
  17   Dated: December 22, 2023                    By: /s/ Grant A. Davis-Denny
                                                   Grant A. Davis-Denny
  18
                                                   grant.davis-denny@mto.com
  19                                               MUNGER, TOLLES & OLSON LLP
                                                   350 South Grand Avenue, Fiftieth Floor
  20
                                                   Los Angeles, California 90071-3426
  21                                               Telephone: (213) 683-9100
                                                   Facsimile: (213) 687-3702
  22
                                                   Attorney for Plaintiffs
  23
  24
       Dated: December 22, 2023                   By: /s/ Farbod S. Moridani
  25                                              Farbod S. Moridani (SBN 251893)
  26                                              fmoridani@millerbarondess.com
                                                  Miller Barondess, LLP
  27                                              2121 Avenue of the Stars, Suite 2600
  28                                              Los Angeles, California 90067


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   1                                                 Telephone: (310) 552-4400
                                                     Facsimile: (310) 552-8400
   2
                                                     Attorney for County Defendants
   3
   4   Dated: December 22, 2023                      By: /s/ Andrew Z. Edelstein
                                                     Andrew Z. Edelstein
   5
                                                     andrew.edelstein@doj.ca.gov
   6                                                 California Department of Justice
                                                     300 S Spring St, Ste 1702
   7
                                                     Los Angeles, CA 90013-1256
   8                                                 Deputy Attorney General
                                                     Attorney for State Defendants
   9
  10
  11   Pursuant to Local Rule 5-4.3.4(a)(2)(i),      By: /s/ Grant A. Davis-Denny
       I certify that all of the above signatories   Grant A. Davis-Denny
  12   concur in this filing’s content and have      grant.davis-denny@mto.com
  13   authorized the filing.                        MUNGER, TOLLES & OLSON LLP
                                                     350 South Grand Avenue, Fiftieth Floor
  14                                                 Los Angeles, California 90071-3426
  15                                                 Telephone: (213) 683-9100
                                                     Facsimile: (213) 687-3702
  16   Dated: December 22, 2023                      Attorney for Plaintiffs
  17
  18   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  19
                                          /s/ Charles F. Eick
  20                                 _____________________________________
       DATED: 12/27/2023
  21                                 United States Magistrate Judge Charles F. Eick
  22
  23
  24
  25
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  27
  28

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   1                                       EXHIBIT A
   2
   3           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   4 I ___________________________, am aware of the litigation in Ocean S. et al. v.
   5 Los Angeles County, et al., No. 2:23-cv-06921-JAK-E (C.D. Cal.) in the capacity of
   6 _________________________. I do solemnly swear or aver that I am fully familiar
   7 with the terms of the Stipulated Protective Order (“Protective Order”) in the above
   8 referenced matter and hereby agree to comply with and be bound by its terms and
   9 conditions unless and until it is modified by further Order of the United States District
  10 Court for the Central District of California (“Court”). I understand that any Protected
  11 Material disclosed to me in that capacity, including the names of the plaintiffs and
  12 putative class members, shall not be disclosed, disseminated, or distributed to any
  13 person who is not authorized to receive it in accordance with the Protective Order. I
  14 understand that nothing in the Protective Order shall limit or in any way restrict me
  15 from discussing the cases of individuals whose Confidential Information is protected
  16 by this Order in order to carry out my legitimate job functions. I understand that
  17 nothing in the Protective Order shall restrict me from performing statutorily
  18 authorized functions as they pertain to such individuals, and I will not be held liable
  19 for executing such authority in the ordinary course, notwithstanding the Protective
  20 Order. For these reasons, I specifically acknowledge consent and agree to the
  21 disclosure requirements, limits and restrictions of the Protective Order and hereby
  22 consent to the jurisdiction of the Court for purposes of enforcing this Order, even if
  23 such enforcement proceedings occur after termination of this Action.
  24
  25 Executed this ___ day of _____________ by ______________________________
  26                                                   (Print Name)
  27
  28 Signed__________________________________________________________

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